
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-06-419-CV



IN RE 
DOROTHEA E.H. LASTER	RELATOR



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relator’s petition for writ of mandamus and motion for temporary relief and is of the opinion that relief should be denied. &nbsp;Accordingly, relator’s petition for writ of mandamus and motion for temporary relief are denied.

Relator shall pay all costs of this original proceeding, for which let execution issue.

PER CURIAM





PANEL B: &nbsp;MCCOY, LIVINGSTON, and GARDNER, JJ.



DELIVERED: &nbsp;November 28, 2006

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




